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                        IN THE UNITED STATES BANKRUPTCY COURT
                             FOR THE DISTRICT OF DELAWARE


                                                                  Chapter 7
    In re:
                                                                  Case No. 19-12153 (KBO)
    BAYOU STEEL BD HOLDINGS, L.L.C., et al.,                      (Jointly Administered)

                                      Debtors.1                   Adv. No. 21-51013 (KBO)


    GEORGE L. MILLER, in his capacity as Chapter                  Re: Adv. D.I. 1 & 2
    7 Trustee for the jointly administered bankruptcy
    estates of Bayou Steel BD Holdings, L.L.C., et
    al.,

                                      Plaintiff,

         v.

    BLACK DIAMOND CAPITAL
    MANAGEMENT, L.L.C.; BDCM
    OPPORTUNITY FUND IV, L.P.; BLACK
    DIAMOND COMMERCIAL FINANCE, L.L.C.;
    SAM FARAHNAK; PHIL
    RAYGORODETSKY; ROB ARCHAMBAULT;
    TERRY TAFT; and BOB UNFRIED,

                                      Defendants.


             ORDER APPROVING STIPULATION FOR EXTENSION OF TIME FOR
                    DEFENDANTS TO RESPOND TO THE COMPLAINT
                         AND AGREED BRIEFING SCHEDULE

         Upon consideration of the Stipulation for Extension of Time for Defendants to Respond to

the Complaint and Agreed Briefing Schedule (the “Stipulation”),2 and the Court having determined



1
  The Debtors in these Chapter 7 cases, along with the last four digits of each Debtor’s federal tax
identification number, are: Bayou Steel BD Holdings, L.L.C. (1984), BD Bayou Steel Investment,
LLC (1222), and BD LaPlace, LLC (5783).
2
    Undefined terms used herein shall have the meanings ascribed to them in the Stipulation.

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that good and adequate cause exists for approval of the Stipulation; and the Court having

determined that no further or other notice of the Stipulation need be given, it is hereby ORDERED

that:

        1.      The Stipulation is APPROVED.

        2.      The deadline by which the Defendants must move, answer, or otherwise respond to

the Complaint shall be extended through and including November 22, 2021.

        3.      The Trustee shall file any responsive papers on or before January 24, 2022.

        4.      The Defendants shall file any replies on or before February 28, 2022.

        5.      This Stipulation is without prejudice to further requests for extensions of the

foregoing deadlines in accordance with the Local Rules of Bankruptcy Practice and Procedure in

the United States Bankruptcy Court for the District of Delaware.

        6.      The Court shall, and hereby does, retain jurisdiction with respect to the

enforcement, implementation, and interpretation of this Stipulation.




   Dated: October 20th, 2021                         KAREN B. OWENS
   Wilmington, Delaware                              UNITED STATES BANKRUPTCY JUDGE
                                                    2
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